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     - - - - --   ---        UNITED-STATES DIST-RIOT-COURT- -- - - - - --              - - -- - --
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


U.S. SECURITIES AND EXCHANGE
COMMISSION,

                               Plaintiff,                   Civil Action No.

                        v.                                  18-CV-

EQUITYBUILD,INC.,EQUITYBUILD
FINANCE LLC,JEROME CO~IEN,and
SHAUN COHEN,

                               Defendants.


       DECLARATION OF ANN TUSHAUS IN SUPPORT OF PLAINTIFF'S
      EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER
      TO PREVENT VIOLATIONS OF THE FEDERAL SECURITIES LAWS,
  TO APPOINT A RECEIVER,AND PROVIDE FOR OTHER ANCILLARY RELIEF

   I,Ann Tushaus, declare under penalty of perjury, in accordance with 28 U.S.C. §1746, as

follows:

1. This declaration is submitted in support of Plaintiff United States Securities and Exchange

   Commission's("SEC" or "Commission") Emergency Motion for a Temporary Restraining

   Order to Prevent Violations ofthe Federal Securities Laws, to Appoint a Receiver, and

   Provide for Other Ancillary Relief.

2. I am employed as a Staff Accountant in the Division of Enforcement by the SEC's Chicago

   Regional Office, located at 175 West Jackson Boulevard, Suite 1450, Chicago, Illinois

   60604.. I have been employed by the Commission since 2007. I have been a registered

   Certified Public Accountant in good standing in the state of Illinois since 2004.

3. My duties with the Commission include participating in fact-finding inquiries and



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   investigations to determine whether the- federal securities laws have been, are presently, or -

   are about to be violated, and assisting in the Commission's litigation of securities laws

   violations. As part of my job, I routinely obtain and analyze bank records and other financial

   records typically maintained at financial institutions.

4. In connection with the Commission's investigation captioned In re Rebuilding America LLC,

   C-08374(the "Investigation"), I have been asked to review and summarize certain bank

   records and financial transactions. Specifically, I have reviewed:

              a) bank records of Equitybuild, Inc.("Equitybuild") which records included, but

                  were not limited to: account opening documents, bank signatory forms,

                  canceled checks, monthly statements, deposits, debit and credit memoranda,

                  and wire transfer advices;

              b) bank records of Equitybuild Finance, LLC ("Equitybuild Finance") which

                  records included, but were not limited to: account opening documents, bank

                  signatory forms, canceled checks, monthly statements, deposits, debit and

                  credit memoranda, and wire transfer advices;

              c) bank records of Jerome Cohen and Shaun Cohen which records included, but

                  were not limited to: account opening documents, bank signatory forms,

                  canceled checks, monthly statements, deposits, debit and credit memoranda,

                  and wire transfer advices;

              d) bank records of affiliate entities of Equitybuild, Equitybuild Finance, Jerome

                  Cohen, and/or Shaun Cohen which records included, but were not limited to:

                  account opening documents, bank signatory forms, canceled checks, monthly

                  statements, deposits, debit and credit memoranda, and wire transfer advices;



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                e) documents produced to the Commission by Equitybuild, Equitybuild Finance,

                   Jerome Cohen, Shaun Cohen, and their affiliate entities, including offering

                   materials and internal records tracking the investments described herein;

                ~ other documents obtained by the SEC staffin the course ofthe Investigation,

                   including materials provided by investors, property managers, and a public

                   relations firm retained by Defendants; and

                g) records ofinterviews and transcripts oftestimonies conducted by the

                   Commission's staff, including interviews and testimonies in which I

                   personally participated.

5. Based upon the materials listed in paragraph 4 above and my participation in the

   Investigation, I am informed and believe and, therefore, state the information set forth below.

6. I have reviewed a Certificate filed by Equitybuild, Equitybuild Finance, Jerome Cohen, and

   Shaun Cohen (collectively,"Defendants")in litigation captioned Markwell v. Equitybuild, Inc.,

   Case No.4:18-cv-1274(S.D. Tex.), Docket No. 10. In that Certificate, Defendants certify that:

  (a)Equitybuild is a Florida corporation;(b)Equitybuild Finance is a Delaware limited liability

   company;(c)Equitybuild is the sole member ofEquitybuild Finance;(d)Jerome Cohen is

   Equitybuild's sole shareholder and President; and (e) Shaun Cohen is Equitybuild's Vice

   President.

7. I participated in testimonies ofthe multiple Equitybuild employees who testified that

   Equitybuild has an office in Chicago.

8. I reviewed the testimony transcript of Jerome Cohen, who testified that he founded Equitybuild

    and Equitybuild Finance, and is Equitybuild's CEO. Jerome Cohen also testified that Shaun

    Cohen is President and the sole officer of Equitybuild Finance.
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9. Based on my participation in the Investigation and review ofthe documents described above in

   Paragraph 4,it is my understanding that Jerome and Shaun Cohen control Equitybuild and

   Equitybuild Finance,including controlling the companies' operations, the content ofthe

   representations made to investors, and transactions to and from their bank accounts.

10. I reviewed the testimony transcript of Shaun Cohen, who testified that by 2010, Defendants had

   begun offering and selling promissory notes (the "Notes")to investors.

1 1. In the course ofthe Investigation, Defendants produced a spreadsheet purportedly listing

   their investors and the amount oftheir investments. According to that spreadsheet,

   Defendants sold securities to more than 900 investors throughout the United States, including

   investors located in the Northern District of Illinois, who invested at least $135 million with

   Defendants.

12. When an issuer registers its securities or offerings, confirming that the registration occurred

   typically entails a routine search ofSEC systems. After performing such a search, I found no

   record indicating that Equitybuild or Equitybuild Finance registered their securities or

   -securities offerings with the SEC prior to the filing ofthis lawsuit.

13. In the course ofthe Investigation, I reviewed copies of Notes produced by Defendants or

   otherwise obtained by the SEC. A copy of one such Note is attached hereto as Exhibit 1.

14. My review ofthe Notes and other materials obtained by the SEC indicates that the Notes

   provided for interest rates ranging from 12% to 20%, with investors receiving higher interest

   rates for investing greater amounts of money. My review further indicates that the terms ofthe

   Notes ranged from six to 24 months.
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15. According to the spreadsheet produced by Defendants referenced above, at the end ofthe

   Notes' terms,rather than receiving their principal, many investors rolled over their principal into

   a new Note.

16. My review ofthe Notes indicates that the parties to the Notes were: (a)the "borrower," which

   was usually Equitybuild, and.(b)the investors, each of which the Notes described as a "lender."

17. My review ofthe Notes and related offering materials provided to investors indicates that each

   Note referenced a specific real estate property which investor funds would purportedly be

   pooled to purchase and renovate. Each Note also represented that the Note was secured by a

   fractional interest in a mortgage in the identified property.

18. My review ofthe Notes and agreements investors executed as part oftheir investments indicates

   the investors assigned to Equitybuild Finance, as the "Collateral Agent," all oftheir rights and

   powers under the Notes and mortgages. A copy of one such ageement is attached hereto as

   E~ibit 2. My review further indicates that Defendants structured the mortgages purportedly

   securing the Notes to be typically entered between: (a) Equitybuild, an affiliate entity, or, in

   some cases, athird-party purchaser; and(b)the investors "care of Equitybuild Finance.

19. My review ofthe Notes indicates that Jerome Cohen generally signed the Notes and

   mortgages on behalf of Equitybuild (or its affiliates), while Shaun Cohen, having been

   delegated the ability to do so by the investors, generally signed the Notes on behalf of

   Equitybuild Finance.

20. Shaun Cohen and other Equitybuild personnel testified that to solicit investments in the Notes,

   Defendants utilized promotional methods including Equitybuild's website, emails to prospective

   investors, a call center and salespeople, in-person presentations, social media, and Google

   advertising.



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21. Jerome Cohen testified that, as part oftheir promotional efforts, Equitybuild and Equitybuild

   Finance also issued and distributed to investors promotional booklets referred to as "white

    papers." Copies ofthree such white papers are attached hereto as E~ibits 3,4 and 5.

22. Shaun Cohen testified that Equitybuild's salespeople reported to him. I reviewed Equitybuild

    employment ageements which state that the salespeople's compensation includes commissions

   from the sale of Notes to investors.

23. The SEC obtained recordings of Shaun Cohen training Equitybuild's salespeople. On certain of

   those recordings, Shaun Cohen instructs the salespeople to generate at least $50,000 of new

   investments each day.

24. I have reviewed promotional materials Defendants provided to investors which describe the

    Note investments as "low risk." Copies ofsuch documents are attached hereto as E~ibits 3(p.

   5),4(p. 6), and 5(p. 12).

25. Shaun Cohen testified that Defendants' public relations firm was on the distribution list for mass

    emails sent to investors, such that the emails received by the firm would have also gone to

   investors. I have reviewed promotional materials Defendants provided to Note investors which

   represent that the investments were "secured" or "backed" by real estate. Copies ofsuch

    documents are attached hereto as E~ibits 4(p. 4),6(p. 3), 7(p. 4), and 8(p. 2). I also reviewed

    emails in which Shaun Cohen represents to investors that "All EquityBuild Finance private

    mortgage notes are 100% secured by real estate." Copies ofthose emails are attached as

    E~ibits 6(p. 3)and 8(p. 3).

26. I have reviewed a white paper provided to investors which states:"Equitybuild is ushering in a

    new era by making real estate investing more secure and reliable than ever." See Ex. 3, p. 4.

    That same white paper describes "Equitybuild's Three Guarantees," including representations



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   -that Equitybuild would compensate investors for any deficiencies in the real estate's operating

   income and declines in property values. Id. at 7. That white paper repeatedly references

   Equitybuild's "unparalleled operational mastery." Id. at 4,7. That white paper additionally

   states: "Our investors receive impressive, double-digit returns that roll in month after month,

   regular as clockwork, but require absolutely no ongoing effort on their part. On the most

   fundamental level, this is an ideal path to passive income." Id. at 4.

27. I have reviewed another white paper provided to investors which states: "Private

   mortgages...are, in our opinion, much safer than paper investments because they are secured by

   real properly. If the mortgage ever goes into default, private mortgage lenders simply sell the

   property in a quick sale and get their money out ofthe investment." See Ex.4, p. 4. That white

   paper additionally states that Equitybuild and Equitybuild Finance "consistently deliver double-

    digit returns." Ex. 4,p. 8.

28. I have reviewed an email that Shaun Cohen sent to prospective investors which stated that

   Equitybuild had a "literally PERFECT payment track record." A copy ofthat email is

   attached as Exhibit 9.

29. I have reviewed multiple emails that Shaun Cohen sent to prospective investors which stated

   that "Equitybuild has Never Defaulted on a Loan and has Zero Foreclosures." Examples of

   such emails are attached as Exhibits 10(p. 4)and 11 (p. 3).

30. I have reviewed Equitybuild's website, which states that Jerome Cohen is the "Creator of

   EquityBuild's proprietary econometric model that identifies undervalued and outperforming

    markets." A copy of a screenshot ofthat website, visited on August 7, 2018, is attached as

   Exhibit 12(p. 8). Equitybuild's website further references Equitybuild's "Operational

    Mastery," which the website describes as "maximiz[ing] returns and minimizing] risk at



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   every step" and "only investing] in a property if we can confirm it will generate high

   satisfactory profits." Id., p. 5.

31. I have reviewed a marketing email in which Equitybuild claims that all of its third-party

   purchasers were "qualified" borrowers with "A-gade" credit. A copy of that email is

   attached as Exhibit 13 (pp. 3, 5).

32. I reviewed another white paper provided to investors which describes how Equitybuild Finance

   generates high returns by issuing private mortgages to third party buyers. A copy ofthat white

   paper is attached as Exhibit 14. That white paper states that the third property purchasers

   borrow on shorter terms and at higher rates than purchasers using traditional mortgages, and

   that Equitybuild Finance produces "High Returns That Beat the Stock Market." Id. at 6.

   That white paper also describes the Notes as "fully secured instruments." Id. at 3.

33. Based on my participation in the Investigation and review ofthe documents described above in

   Paragraph 4, it is my understanding that Equitybuild and Equitybuild Finance told investors that

   they earned their profits from the third party purchasers, but not from the investors.

34. I reviewed another document, which represents to investors that Equitybuild makes money by

   retaining as profits the difference between the mortgage payments received from the third

   party purchasers and the interest payments made to the Note investors. A copy of that

   document is attached as Exhibit 13.

35. I reviewed emails Shaun Cohen sent to prospective investors in which he represented that the

   properties collateralizing the investors' Notes would generate "more than enough revenue to

   cover the borrower's note payments [and] all of the property's operating expenses, and still

   return positive cash flow." Copies of those emails are attached as Exhibits 15 (p. 3), 16 (p.

   3), and 17(p. 3). Also, in a white paper, Equitybuild describes how it "has learned to structure
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   deals so they generate positive free cash flow after mortgage and all operating expenses are

   paid." Ex. 3, p. 6.

36. Shawn Cohen and another Equitybuild employee testified that Equitybuild retained 15% to

   30% ofthe Note investors' investments as fees. Prior to 2017, the offering materials did not

   disclose to Note investors that Defendants would take 15% to 30% oftheir investments as

   fees.

37. I reviewed offering memoranda provided to the Note investors which typically listed a "sale

   price" or "purchase price" for the property purportedly securing the Note. For approximately

   52 such properties, I compared the total sale/purchase prices listed in the offering memoranda

   with the total sale prices listed on either closing documents obtained by the SEC or on

   publicly available Internet real estate search sites. My analysis shows that the total ofthe

   sale/purchase prices listed in the offering memoranda is 47%more than the total of the actual

   sale prices shown on the closing documents or real estate search sites.

38. My review and analysis of Defendants' bank records shows that Equitybuild and Equitybuild

   Finance used proceeds of the investments described herein to make interest and principal

   payments to investors. My review and analysis also shows investor proceeds were used to

   make payments to Jerome Cohen, Shaun Cohen, and LLCs they own and control.

   Specifically, from September 1, 2013 to May 2018, Jerome Cohen and Shaun Cohen each

   received approximately $1.5 million as a result ofthe investments described herein. Jerome

   Cohen received these funds through transfers from Equitybuild bank accounts to accounts in

   his name and the name of a company he owns and controls called Tikkun Holdings LLC.

   Shaun Cohen received his money through transfers from Equitybuild bank accounts to

   accounts in his name and the name of a company he owns and controls called 3400 Newkirk



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   LLC. The bank records reflect that Jerome Cohen and Shaun Cohen used the money to pay

   for living expenses.

39. Jerome Cohen testified that the real estate purchased with investor proceeds, in the

   aggregate, does not generate enough revenue to cover the properties' operating expenses and

   the payments due to investors.

40. I also reviewed and analyzed monthly owner statements produced by the property managers

   Defendants used to manage 40 of the properties purchased with investor funds. I analyzed

   the owner statements, which do not take into account interest payments due to investors, to

   determine the monthly net loss or net income for the properties. I then included in my

   analysis the monthly interest payments owed to investors, based on the terms ofthe Notes.

   When I took into account these monthly interest payments, the 40 properties yielded an

   average monthly net loss of$23,385. Moreover, none of the 40 properties had an average

   monthly net income once interest payments were included. Even excluding the interest

   payments, my analysis shows that 17 ofthe 40 properties sustained average monthly net

   losses, before interest to investors were taken into account.

41. I also reviewed Equitybuild's 2015 financial statements, which show that in 2015

   Equitybuild's net loss was $11,963,944. I have seen no evidence that Defendants shared this

   information with investors.

42. Jerome Cohen testified that while Equitybuild initially sold properties acquired with investor

   proceeds to third-party buyers, by 2014 Equitybuild itself owned nearly all of the buildings

   acquired with investor funds. I also reviewed a draft letter to the SEC Shaun Cohen wrote in

    which he acknowledges that by 2015 Equitybuild was no longer utilizing third-party buyers.




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43. My review and analysis of Equitybuild's bank records indicates that from January 2015

   through February 2017,investors received approximately $14.5 million in interest payments

   from Equitybuild. My analysis indicates that during the same period, the money transferred

   to Equitybuild from property managers and third-party buyers' monthly payments amounted

   to only $3.8 million. Based on this analysis, it appears that Equitybuild used investor

   proceeds to make investor interest payments.

44. I am unaware of Defendants, in the course ofthe Notes offering, informing investors that

   their interest payments were being funded by investor proceeds.

45. I am unaware of Defendants providing investors with the contact information ofthe other

   investors who invested in the same property.

46. I reviewed Extension Agreements produced by Defendants. The Extension Agreements

   indicate that Equitybuild routinely extended the maturity date on investors' Notes, often for

   years. Equitybuild's sales manager testified that for the vast majority ofinvestments,

   Equitybuild had to extend the maturity date.

47. I reviewed the spreadsheet Defendants produced purportedly listing Equitybuild's investors

   and the amount oftheir investments. That spreadsheet indicates that as of October 2017

   there were investors in more than 1,200 Notes with outstanding principal totaling more than

   $75 million.

48. Shaun Cohen testified that investors who did not agree to extend their investments were

   placed on a "buyout list" where Defendants would look for new investors to buy out the

   original investors. Defendants produced the buyout list to the SEC, which reflects that as of

   June 2018 Equitybuild had approximately $3 million worth ofinvestments waiting to be

   bought out.



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49. Shaun Cohen testified that Equitybuild converted the investments of certain Note investors

   into unsecured promissory notes. I reviewed the spreadsheet Defendants produced

   purportedly listing their investors and the amount oftheir investments. That spreadsheet

   indicates that approximately 100 investors had their original note converted into unsecured

   promissory notes.

50. I am unaware of Defendants informing new prospective investors that previous investors had

   been compelled to extend their Notes' maturity dates, been placed on the buyout list, or had

   their secured Notes switched to unsecured notes.

51. Court records reflect that in 1994 Jerome Cohen filed for bankruptcy. See In re Jerry H.

   Cohen, Case No. 9:94-bk-09013-ALP (M.D. Fla 1994). Court records further reflect that in

   2010 Shaun Cohen filed for bankruptcy. See In re Shaun D. Cohen, Case No. 9:10-bk-

   06615-ALP (M.D. Fla. 2010). I am not aware of Defendants disclosing these bankruptcy

   filings to prospective investors.

52. Jerome Cohen testified that the proprietary econometric model referenced in Equitybuild's

   offering materials actually consisted of"back of the envelope type of calculations." He also

   testified that selecting real estate was not a "core competency" ofDefendants. I am not aware

   ofDefendants disclosing these facts to investors.

53. Jerome Cohen testified that in early 2017, he and Shaun Cohen began making changes to the

   business model they presented to investors, by offering investments in real estate "funds."

54. I have reviewed the private placement memoranda("PPMs")for seven ofthese funds, which

   are the "Chicago Capital Fund I,""Chicago Capital Fund II," "Southside Development Fund

   1,""Southside Development Fund 4,""Southside Development Fund 6," "Southside




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- --      Development Fund 8," and "Hybrid Capital Fund." The PPMs reflect that in those seven

          offerings, beginning in May 2017, Defendants attempted to raise more than $70 million.

       55. The PPMs generally represent that Defendants would pool investor proceeds to purchase and

          renovate real estate, primarily on the South Side of Chicago. The PPMs for five ofthe seven

          funds represent that investors will receive double-digit annual returns, with the other two funds

          offering 8%returns. The PPMs describe the investments as "securities."

       56. The PPM for the Chicago Capital Fund II offers 17%annual returns for 24 months. The

          PPM for the Southside Development Fund 8 offers 14% annual returns for six months. The

          Southside Development Fund 8 PPM describes those 14%returns as a "Guaranteed

          Dividend."

       57. I visited Equitybuild's website on approximately August 8, 2018. The website describes the

          following funds as currently being offered: Southside Development Fund 7, Southside

          Development Fund 8, Chicago Capital Fund I, Chicago Capital Fund II, and Equitybuild

          Hybrid Fund. A copy of this portion ofthe website is attached as Exhibit 18.

       58. Jerome Cohen testified that Equitybuild uses certain proceeds of the fund offerings to make

          interest payments to prior Note investors. The PPMs include a section detailing how investor

          proceeds will be used, including the purchase and renovation of real estate, but do not

          disclose that investor proceeds will be used to repay earlier Note investors.

       59. Based on my review of the Notes and the PPMs,it appears that many ofthe properties

          described in the PPMs as real estate that investor funds will be used to acquire and renovate

          are the same properties that purportedly secured the Notes. The PPMs do not disclose the

          fact that the properties were acquired by and secured prior investments. The PPMs also state

          that the title of the properties was transferred to special purpose entity LLCs owned by



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--   - ---      Jerome Cohen. I am unaware of Defendants apprising Note investors before transferring the

                title ofthe properties supposedly securing their investments.

             60. T'he PPMs also do not disclose that earlier Note investors had not been repaid, the munber of

                delinquent Notes, or the amount ofthe delinquent Note payments.

             61. My review ofthe bank records described above indicates that as of May 31, 2018,

                Equitybuild and Equitybuild Finance cumulatively had approximately $75,000 in their bank

                accounts. The PPMs do not disclose this to prospective investors.

             62. In the course ofthe Investigation, the SEC received declarations from Note investors Hans

                Blumberg, Debbie Lasley, and Reymone Randall. Copies ofthose declarations are attached

                as Exhibits 19(Blumberg), 20 (Easley), and 21 (Randall).

             63. Ms. Lasley's declaration reflects that on May 24, 2018, Shaun Cohen emailed Ms. Easley to

                inform her that Equitybuild had refinanced her investment and that her Note investment

                would be restructured into an investment in one of the funds. Ex. 20, ¶ 22.

             64. Ms. Lasley's declaration further reflects that on June 4, 2018, Equitybuild emailed Ms.

                Easley to inform her that Equitybuild had taken on a "debt load that is not sustainable" and

                that continuing to pay investor interest payments "would lead to an inevitable disaster that

                would put your investment at risk of significant loss." Ex. 20, ¶ 25. The email further stated

                that Equitybuild would convert her Note investment into an equity investment and would be

                unable to make her scheduled interest payment. (Id.)

             65. Mr. Randall's declaration reflects that on May 24, Equitybuild emailed Mr. Randall to inform

                him that Equitybuild had taken on a "debt load that is not sustainable" and that continuing to

                pay investor interest payments "would lead to an inevitable disaster that would




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    put your investment at risk of significant loss." Ex. 21, ¶ 22. The email further stated that

    Equitybuild has "no choice but to restructure and reduce the debt burden," and that it was

   reducing Mr. Randall's monthly interest payment from 16% to 6%. Id., ¶¶ 10, 22.

66. Mr. Blumberg's declaration reflects that on June 26, 2018, Equitybuild emailed Mr.

   Blumberg "to acknowledge that we recognize your payment is late." The email continued:

   "The delay in your payment is related to project specific circumstances that we are diligently

    working to clarify and remedy." Ex. 19, ¶ 20.

67. The declaration further reflects that on June 27, 2018, Shaun Cohen emailed Mr. Blumberg

   to inform him ofthe "need to restructure [Blumberg's] investment." Ex. 19,¶ 21.

68. I am unaware of Defendants informing prospective fund investors ofthe recent above-

   described disclosures made to Mr. Blumberg, Ms. Lasley, and Mr. Randall.

69. As part of its investigation, the SEC obtained a video recording that Equitybuild emailed to

   Note investors on August 6, 2018. I have watched that recording. On the recording, Shaun

   Cohen: (a) states that Equitybuild's properties are "negatively cash flowing,"(b)

   acknowledges that investor interest payments have stopped and that principal has not been

   returned,(c) discloses that Equitybuild had funded investor interest payments using "fee

   income" from later investors, but that the fee income could no longer satisfy the interest

   payments,(d) warns investors not to file lawsuits against Equitybuild because doing so

    would hinder the ongoing efforts to sell or refinance the properties acquired with investor

   funds,(e) states that investors will not receive payments until Equitybuild's rental income

   exceeds its expenses, and (~ advises that Equitybuild was cutting staff down to a "skeleton

   crew" and would not be able to respond to investor inquiries. I am unaware of Defendants

   making these disclosures to prospective fund investors.



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70. In the course of the- Investigation, the SEC obtained an email from Jerome Cohen to Shaun

   Cohen, in which Jerome Cohen writes: "Actually, the lesson I learned was be very careful

    and always, if possible, use other people's money." A copy of that email is attached as

   Exhibit 22.




I declare under penalty of perjury that the foregoing is true and correct.

Executed on August 15, 2018


                                                                  ~a~a~
                                                      ANN TUSHAUS




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